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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            FORT MYERS DIVISION

  DANESH     NOSHIRVAN,          an
  individual,

              Plaintiff,

  v.                                  Case No:     2:23-cv-1218-JES-KCD

  JENNIFER      COUTURE,     an
  individual, RALPH GARRAMONE
  M.D., an individual, RALPH
  GARRAMONE      M.D.     P.A.,
  CENTRAL PARK OF SOUTHWEST
  FLORIDA, LLC, WRAITH, LLC,
  SULLIVAN               STREET
  INVESTMENTS, LLC, HAIRPIN
  TURN, LLC, OMG REALTY, LLC,
  R G WEIGHT MANAGEMENT, LLC,
  CENTRAL PARK SOUTH, LLC,
  BRANTLEE, LLC, LEGACY OF
  MARIE     GARRAMONE,     LLC,
  GARRAMONE MARKETING, INC.,
  5681 DIVISION LLC, THE LAW
  OFFICE OF PATRICK TRAINOR
  ESQ. LLC, PATRICK TRAINOR,
  an individual, and ANTI-
  DOXING LEAGUE INC.,

              Defendants.


                                      ORDER

        Plaintiff Danesh Noshirvan has moved to sanction Defendants

  for   interfering     with    the    judicial      process.        (Doc.   #266.)

  Noshirvan accuses Defendants of working in concert with non-

  parties    Joseph    Camp    and    Richard     Luthmann      to     harass   and

  intimidate his attorneys and witnesses. These actions, according
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  to Noshirvan, have caused at least one expert (Brad LaPorte) to

  withdraw after receiving threats.

        The Court has set an evidentiary hearing to resolve these

  serious allegations of witness tampering and establish what role

  (if   any)     Defendants     have    had    with       the   conduct    alleged.     To

  facilitate      the    Court’s      fact-finding         role,    it    will   require

  Defendants to separately respond to the following discovery on

  or    before    May    1,   2025.    These       discovery       responses     must   be

  provided to Noshirvan.

                                 Document Requests

        1.     Provide    PDF    copies       of    all    communications,        whether

  written or electronic, sent or intended for Joseph Camp from

  December 26, 2023, to present.

        2.     Provide    PDF    copies       of    all    communications,        whether

  written or electronic, received from Joseph Camp or someone on

  his behalf from December 26, 2023, to present.

        3.     Provide    PDF    copies       of    all    communications,        whether

  written or electronic, sent or intended for Richard Luthmann

  from December 26, 2023, to present.

        4.     Provide    PDF    copies       of    all    communications,        whether

  written or electronic, received from Richard Luthmann or someone

  on his behalf from December 26, 2023, to present.




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                               Interrogatories

        1.    List the name and contact information of all people to

  whom you have provided a copy of Plaintiff’s expert disclosures

  (or any part thereof) served to Defendants on November 27, 2024.


        DONE AND ORDERED at Fort Myers, Florida, this _11th               day of

  April 2025.




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